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                                EXHIBIT 28



                                 In Support of


          Plaintiff United States’ Memorandum of Law in Support of the
         United States’ Second Motion for Partial Summary Judgment; and
            Statement of Undisputed Material Facts in Support Thereof
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10:26:48   1      potential co-owner as of September 17th,
10:26:52   2      2009?
10:26:52   3              A.      No, sir.
10:26:53   4              Q.      All right.     But the well had
10:26:58   5      already -- the drilling of the well had begun
10:27:01   6      by that time.      Isn't that true?
10:27:07   7              A.      No, sir.     I don't believe the
10:27:08   8      well began drilling until October.
10:27:10   9              Q.      Okay.    Let's go to the next
10:27:28 10       document, which is 1951703, in seriatim,
10:27:36 11       to -- no.     I apologize.     These are not in
10:27:39 12       seriatim.     This is just a single document.
10:27:47 13       We'll skip that.
10:27:48 14                       All right.     Let's go to Tab 3.
10:28:46 15       This is BP-HZN-2179MDL2319086, in seriatim,
10:28:54 16       to 16 -- 116.      2319116.    I'm going to mark
10:29:10 17       this as Exhibit 2824.
10:29:10 18               (Exhibit 2824 was marked.)
10:29:18 19               Q.      (BY MR. BRUNO)      Do you know what
10:29:19 20       this is, sir?
10:29:20 21               A.      Sir, this appears to be a lease
10:29:22 22       exchange agreement between BP and two
10:29:27 23       Anadarko entities.
10:29:38 24               Q.      This is a draft, I think, right?
10:29:53 25       Look at the next document.         I just want to


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10:29:54   1      see if we can --
10:29:54   2              A.      Sir, this one appears to be
10:29:57   3      executed on Page 13 of 13.
10:30:20   4              Q.      Okay.    All right.     Thank you.
10:30:22   5      There is an attachment, Exhibit A-1, the
10:30:25   6      assigned leases.
10:30:26   7              A.      Okay.    I see it.
10:30:27   8              Q.      All right.     Tell us what this
10:30:34   9      is.
10:30:34 10               A.      This is a lease exchange
10:30:36 11       agreement that sets out the exchange between
10:30:42 12       BP and two Anadarko entities for their
10:30:45 13       assignment of a portion of BP's interests in
10:30:48 14       Macondo for an assignment of some other
10:30:51 15       leases from the two Anadarko entities.
10:30:54 16               Q.      All right.     What -- what
10:30:55 17       ownership interest did Anadarko get as a
10:30:59 18       result of the signing of this agreement?
10:31:09 19               A.      I believe -- I need to look at
10:31:12 20       the exhibit to be certain.
10:31:20 21               Q.      Look at 2319101.       Maybe I got it
10:31:24 22       wrong.
10:31:24 23               A.      Yeah, it's that exhibit.
10:31:27 24                       Yes, sir.     This agreement would
10:31:30 25       have BP, after BP had owned it at a -- I'm


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10:31:35   1      not sure if it was 90 percent at this point.
10:31:38   2      I believe it was 90 percent.         It reflects
10:31:41   3      BP's after -- after-exchange interests of
10:31:47   4      65 percent, and then one of the Anadarko
10:31:48   5      entities with 22 and a half percent and the
10:31:51   6      other with 2.5 percent.
10:31:53   7              Q.      Okay.    So the -- so essentially
10:31:56   8      the Anadarko interests owned 25 percent after
10:31:59   9      this document was signed?
10:32:01 10               MS. KUCHLER:     Objection; form.
10:32:04 11               A.      Being the two -- the two
10:32:05 12       Anadarko entities combined --
10:32:05 13               Q.      (BY MR. BRUNO)      Yes.
10:32:08 14               A.      -- owned 25 percent, yes, sir.
10:32:09 15               Q.      All right.     And do I gather,
10:32:11 16       then, that BP had previously sold 10 percent
10:32:13 17       to someone else?
10:32:14 18               A.      Yes, sir.     I believe at that
10:32:16 19       point we had assigned 10 percent to MOEX.
10:32:20 20               Q.      All right.     And this document
10:32:23 21       was signed on December the 17th of '09?
10:32:28 22               A.      It appears.      The date is
10:32:32 23       December 17th on Page 13, yes, sir.
10:32:35 24               Q.      All right.     And do you know if
10:32:38 25       Anadarko still had an obligation to fund the


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10:37:23   1              Q.      All right.     Explain to us:      What
10:37:25   2      is an authorization for expenditure?
10:37:30   3              A.      It's my understanding it is a
10:37:31   4      document that's generated under the joint
10:37:34   5      operating agreement that provides for the
10:37:37   6      funding of an operation or drilling of a
10:37:42   7      well.
10:37:42   8              Q.      All right.     Who is the person
10:37:46   9      giving the authorization?
10:37:52 10               A.      In the Macondo well?
10:37:53 11               Q.      Yes.    This one right here.
10:37:55 12               A.      The authorization was sent out
10:38:03 13       or provided for in these agreements where BP
10:38:06 14       would send it, and then it would go as an
10:38:08 15       election to the nonoperating parties.
10:38:11 16               Q.      All right.     But that's why I
10:38:13 17       asked the question.       I know that it was sent
10:38:15 18       out to the nonoperating parties to approve or
10:38:18 19       disapprove.
10:38:19 20                       What I'm trying to find out is:
10:38:23 21       Who authorizes the expenditure?          Who signs
10:38:25 22       this document, Authorization for Expenditure?
10:38:28 23               A.      Without seeing the actual one
10:38:33 24       that was signed, there were several people
10:38:35 25       who signed it, several individuals.


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14:19:54   1      when the AFE is prepared, it's broken down --
14:20:01   2      each participating party contributes its --
14:20:04   3      its share of -- for the proposed operation;
14:20:08   4      is that correct?
14:20:08   5              A.      Yes, ma'am.      The shares can vary
14:20:13   6      depending on the operation.
14:20:14   7              Q.      Right.    And in this case, at
14:20:16   8      least with respect to the initial AFE,
14:20:21   9      Anadarko was paying for 33 percent of those
14:20:24 10       costs; is that correct?
14:20:26 11               A.      Yes, ma'am.      With certain
14:20:30 12       limitations in their -- in the well
14:20:34 13       participation agreement, it provides that
14:20:36 14       they'll pay, I believe -- I'm summarizing
14:20:40 15       from what I remember -- 33.33 percent, up to
14:20:43 16       a limit of 110 percent of the AFE or
14:20:49 17       objective depth -- reaching objective depth,
14:20:51 18       the earlier of the two.
14:20:52 19               Q.      That's for operations with
14:20:55 20       respect to that initial exploratory well,
14:21:00 21       correct?
14:21:00 22               A.      Operate at the initial
14:21:01 23       exploratory AFE.
14:21:03 24               Q.      Yeah.
14:21:03 25               A.      Yes, ma'am.


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14:47:24   1              Q.      Right.
14:47:24   2              A.      -- to the e-mail.
14:47:25   3              Q.      It's an e-mail forwarding an
14:47:27   4      attachment, and the attachment is the
14:47:29   5      approval?
14:47:30   6              A.      Yes, ma'am.
14:47:30   7              Q.      All right.     Let's talk about the
14:47:43   8      lease exchange agreement.         Switch gears.     And
14:47:47   9      in -- at Tab -- we'll start with Tab No. 3,
14:47:51 10       which is the MOEX -- previously introduced
14:47:57 11       Exhibit 1244.
14:48:08 12                       Can you tell me what this is.
14:48:10 13               A.      This is a copy of the lease
14:48:12 14       exchange agreement between BP and MOEX.
14:48:16 15               Q.      To your knowledge, is it a final
14:48:20 16       copy of the agreement?
14:48:21 17               A.      Yes, ma'am, it appears it is.
14:48:25 18       It does not appear it has the exhibits on
14:48:27 19       here, but --
14:48:29 20               Q.      Okay.    So this is a copy without
14:48:30 21       the exhibits?
14:48:32 22               A.      It -- yes, ma'am, that appears
14:48:34 23       to be the case.
14:48:35 24               Q.      Okay.    If you could generally
14:48:43 25       describe what is being exchanged in this


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14:52:34   1      you first sent over the initial draft to when
14:52:39   2      the MOEX and BP signed this agreement, do you
14:52:46   3      recall that timeframe?
14:52:52   4              A.      I don't recall the exact
14:52:53   5      timeframe, but it was two, three months
14:52:57   6      maybe, from my memory.
14:52:58   7              Q.      Okay.    And I'll turn your
14:53:10   8      attention to Article 1.4 of this agreement.
14:53:18   9              A.      Yes, ma'am.
14:53:18 10               Q.      And that's titled BP Property.
14:53:20 11                       Is that correct?
14:53:21 12               A.      Yes, ma'am.
14:53:22 13               Q.      And it's your understanding that
14:53:25 14       is a description of the property BP was
14:53:29 15       conveying to MOEX by this agreement?
14:53:34 16               A.      Yes, that's my understanding in
14:53:37 17       reading that provision.
14:53:38 18               Q.      And do you understand what that
14:53:49 19       final clause means that it -- that says:
14:53:53 20       Excluding all tangible personal property such
14:53:55 21       as the tubulars and wellheads set forth in
14:54:02 22       Exhibit C, Macondo well plan and AFE?
14:54:06 23               A.      I don't recall the exact reason
14:54:07 24       for that, but I believe that was a comment
14:54:09 25       from our tax legal group.


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14:56:34    1              A.      Yes, ma'am.     I'm not sure what
14:56:36    2      the procedure is, but in my understanding
14:56:38    3      we -- as costs are incurred in drilling,
14:56:43    4      joint interest bills are issued.
14:56:47    5              Q.      Okay.    If you could actually
14:56:49    6      turn to one of those bills at Tab 13.             And I
14:57:12    7      just want to make sure I get the -- starting
14:57:16    8      with Bates No. ANA-MDL 000031079.
14:57:25    9                      Is this an example of an invoice
14:57:32 10        that was sent to Anadarko providing billing
14:57:44 11        that party for costs associated with the
14:57:46 12        Macondo well?
14:57:51 13                A.      I don't receive these.        It
14:57:55 14        appears that, but I'm not familiar with these
14:57:58 15        documents.
14:57:59 16                Q.      And if --
14:58:00 17                A.      It does appear be an invoice.
14:58:02 18                Q.      That was sent to Anadarko?
14:58:03 19                A.      Yes, ma'am.
14:58:05 20                Q.      And if you'd turn to the Bates
14:58:11 21        number ending 31084.
14:58:18 22                A.      31 -- okay.     Yes, ma'am.
14:58:23 23                Q.      Does that appear to itemize
14:58:27 24        certain tangible equipment for the Macondo
14:58:34 25        well?


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14:58:34    1             MR. FLANDERS:      Objection; form.
14:58:35    2             MS. KUCHLER:      Objection; form.
14:58:36    3             A.       In my understanding of tangible,
14:58:38    4      a casing line pipe conductor, that would be
14:58:43    5      considered tangible.       It does itemize that.
14:58:49    6      Quite a few casing -- or CSG, which is -- my
14:58:53    7      understanding is casing.
14:58:55    8             Q.       (BY MS. HARVEY)      And it also
14:58:58    9      appears that in addition to the casings,
14:59:01 10        there is an item labeled Wellhead on the next
14:59:04 11        page; is that correct?
14:59:06 12               MR. FLANDERS:      Objection; form.
14:59:11 13               Q.       (BY MS. HARVEY)      Housing subsea
14:59:13 14        wellhead:    36 inch, DQ, 2-401472?
14:59:22 15               A.       Yes, ma'am, I see it, and it
14:59:25 16        appears that was billed, yes, ma'am.
14:59:32 17               Q.       Can we mark that -- the invoice
14:59:43 18        as Exhibit 2857.
14:59:46 19               MS. KUCHLER:      Which invoice, please?
14:59:49 20               MS. HARVEY:     This is the invoice from
14:59:51 21        January 2010, and it begins Bates
14:59:53 22        No. ANA-MDL 00031079, and it goes to 31085.
15:00:10 23               (Exhibit 2857 was marked.)
15:00:10 24                        And we'll have to take a break
15:00:12 25        to change the tapes.


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15:28:02    1      regarding a possible tieback to the Pompano
15:28:07    2      platform in which Kerr-McGee is the record --
15:28:10    3      the record title of -- owner of.
15:28:12    4             Q.       And so this --
15:28:17    5             MS. KUCHLER:      Object to the
15:28:19    6      responsiveness of the answer.
15:28:21    7             Q.       (BY MS. HARVEY)      -- this
15:28:21    8      agreement is between BP Exploration &
15:28:23    9      Production, Anadarko Petroleum Corporation,
15:28:28 10        and Kerr-McGee Oil & Gas Corporation; is that
15:28:29 11        correct?
15:28:29 12               A.       Yes, ma'am.
15:28:30 13               Q.       Do you recall why Anadarko
15:28:32 14        Exploration & Production was not a party to
15:28:33 15        this agreement?
15:28:34 16               MS. KUCHLER:      Object to the form.
15:28:34 17               A.       From what I recall, it was
15:28:36 18        because we were -- the lease exchange
15:28:39 19        agreement, that was done to those two
15:28:41 20        entities at the direction of our tax
15:28:45 21        department in that ultimately, everything was
15:28:47 22        going to be in Anadarko Petroleum
15:28:52 23        Corporation, so we did not need Anadarko E&P.
15:28:56 24               Q.       (BY MS. HARVEY)      And if you
15:28:57 25        could look at the recitals portion on the


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15:55:52    1      information about the need for the second
15:55:54    2      supplemental?
15:55:55    3              A.      Yes, ma'am.
15:55:56    4              Q.      Okay.    The second supplemental
15:56:04    5      AFE, the final signed version from MOEX is
15:56:10    6      2861.
15:56:13    7              (Exhibit 2861 was marked.)
15:56:13    8              MS. HARVEY:     Can we take a quick break.
15:56:16    9              THE VIDEOGRAPHER:      Off the record at
15:56:18 10        3:56 p.m.
15:56:20 11                              (Break.)
16:05:51 12                THE VIDEOGRAPHER:      Back on the record
16:06:41 13        at 4:06 p.m.
16:06:46 14                Q.      (BY MS. HARVEY)      Mr. Beirne,
16:06:47 15        let's turn to Tab 8.       This is previously
16:06:53 16        marked Exhibit 1922.
16:06:55 17                A.      Yes, ma'am.
16:06:56 18                Q.      It's a letter from Mr. Huch to
16:07:04 19        the attention of Aimee Patel; is that
16:07:09 20        correct?
16:07:09 21                A.      Yes, ma'am.
16:07:09 22                Q.      Can you describe what Mr. Huch's
16:07:15 23        letter -- would you please summarize
16:07:19 24        Mr. Huch's letter.
16:07:20 25                MS. KUCHLER:     Object to the form.


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16:07:21    1             A.       Yes, ma'am.     His letter is a
16:07:23    2      cover letter sending the Anadarko entities
16:07:28    3      their collective 25 percent approval of the
16:07:32    4      production casing AFE.
16:07:34    5             Q.       (BY MS. HARVEY)      And this is for
16:07:38    6      the operation that occurs after you've
16:07:42    7      reached total depth; is that correct?
16:07:44    8             A.       Yes, ma'am, after objective
16:07:45    9      depth.
16:07:46 10               Q.       Or after objective depth.
16:07:48 11                        And it's dated April 15th, 2010?
16:07:52 12               A.       Yes, ma'am, Mr. Huch's letter is
16:07:55 13        dated April 15, yes, ma'am.
16:07:57 14               Q.       And does that comport with your
16:07:59 15        recollection of the timing of when this
16:08:01 16        letter was sent?
16:08:03 17               MS. KUCHLER:      Object to the form.
16:08:04 18               A.       The letter from Mr. Huch?
16:08:09 19               Q.       (BY MS. HARVEY)      Yes.
16:08:10 20               A.       Yes, ma'am.
16:08:11 21               Q.       And the next two pages that --
16:08:16 22        are these attachments to the letter?
16:08:22 23               MS. KUCHLER:      Object to the form.
16:08:23 24               A.       The -- speaking of the two AFEs
16:08:27 25        that are executed?


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16:08:29    1             Q.       (BY MS. HARVEY)      Yes.
16:08:30    2             A.       Yes, ma'am.     They appear to be
16:08:32    3      enclosures or attachments, yes.
16:08:35    4             Q.       And are they documents
16:08:41    5      representing Anadarko -- the two Anadarko
16:08:44    6      entities' approval to set the -- to fund
16:08:48    7      setting the production casing?
16:08:50    8             MS. KUCHLER:      Object to the form.
16:08:51    9             A.       Yes, ma'am.
16:08:53 10               Q.       (BY MS. HARVEY)      And one appears
16:08:57 11        to be signed by Anadarko E&P Company, and the
16:09:01 12        other appears to be signed by Anadarko
16:09:04 13        Petroleum Corporation; is that correct?
16:09:05 14               MS. KUCHLER:      Object to the form.
16:09:06 15               A.       Yes, ma'am.
16:09:08 16               Q.       (BY MS. HARVEY)      And are you
16:09:11 17        aware of why Anadarko Exploration &
16:09:18 18        Petroleum -- Anadarko E&P was signing this
16:09:24 19        AFE?
16:09:26 20               MS. KUCHLER:      Object to the form.
16:09:26 21               A.       I believe at the time we had not
16:09:30 22        received the approved assignments into the
16:09:35 23        Anadarko -- the combined 25 percent into
16:09:38 24        Anadarko Petroleum Corporation, so that was
16:09:40 25        why the AFE was drafted in that manner.


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 1                UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF LOUISIANA
 2
 3      IN RE: OIL SPILL             )     MDL NO. 2179
        by the OIL RIG,              )
 4      DEEPWATER HORIZON in         )     SECTION "J"
        the GULF OF MEXICO,          )
 5      April 20, 2010               )     JUDGE BARBIER
                                     )
 6                                   )     MAG. JUDGE
                                     )     SHUSHAN
 7
                     REPORTER'S CERTIFICATION
 8                 DEPOSITION OF MICHAEL BEIRNE
                       TAKEN JUNE 27, 2011
 9
            I, Tamara Chapman, Certified Shorthand
10      Reporter in and for the State of Texas,
        hereby certify to the following:
11
            That the witness, MICHAEL BEIRNE, was
12      duly sworn by the officer and that the
        transcript of the oral deposition is a true
13      record of the testimony given by the witness;
            That the deposition transcript was
14      submitted on _________________, 2011, to the
        witness or to Attorney __________________for
15      examination, signature and return to
        Worldwide Court Reporters, Inc., by
16      __________________, 2011.
            That the amount of time used by each
17      party at the deposition is as follows:
18          MR. BRUNO - 3:48
            MS. HARVEY - 1:50
19          MR. POTE - 00:09
            MR. ROTH - 00:18
20          MR. BOWMAN - 00:34
21          I further certify that I am neither
        counsel for, related to, nor employed by any
22      of the parties in the action in which this
        proceeding was taken, and further that I am
23      not financially or otherwise interested in
        the outcome of the action.
24
25



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